
35 N.Y.2d 872 (1974)
In the Matter of Roger G. Smart, Respondent,
v.
Richard L. Francis, as Director of Sunmount State School, New York State Department of Mental Hygiene, Appellant.
Court of Appeals of the State of New York.
Argued November 14, 1974.
Decided December 18, 1974.
Louis J. Lefkowitz, Attorney-General (Winifred C. Stanley and Ruth Kessler Toch of counsel), for appellant.
John L. Bell for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, RABIN and STEVENS.
Order reversed, without costs, and the determination of respondent Director of Sunmount State School reinstated on the dissenting memorandum by Mr. Justice LOUIS M. GREENBLOTT at the Appellate Division. (See, also, Matter of Pell v. Board of Educ. of Union Free School Dist. No. 1, 34 N Y 2d 222, 232, 233-234, 241.)
